                                                              United States Bankruptcy Court
                                                                    District of Arizona
In re:                                                                                                                 Case No. 23-03067-SHG
TREVOR DOUGLAS REID                                                                                                    Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0970-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: May 26, 2023                                               Form ID: van122                                                           Total Noticed: 25
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 28, 2023:
Recip ID                 Recipient Name and Address
db                     + TREVOR DOUGLAS REID, 2121 N 44TH ST, APT 4412, PHOENIX, AZ 85008-3256
16973628               + 34TH STREET MINI STORAGE, 3447 SW 42 AVE, GAINESVILLE, FL 32608-2527
16973629               + 3RD AVE ARCADIA LLC, C/O CLARK & WALKER PC, 4222 E THOMAS RD #230, PHOENIX, AZ 85018-7609
16973622                 ABC AMBULANCE, AMERICAN MEDICAL RESPONSE, PO BOX 8324, CORAL SPRING, FL 33075-8324
16973630              #+ AMERICAN PUBLIC UNIVERSITY, 111 W CONGRESS STREET, CHARLES TOWN, WV 25414-1621
16973620                 BLUE ORTHODONTICS, 5102N7THST, PHOENIX, AZ 85014
16973616               + CAMBRIDGE CAPITAL REAL ESTATE, INVESTMENTS, LLC DBA ARLO, 2121 N44THST, PHOENIX, AZ 85008-3224
16973633               + CONSERVICE, 750 SOUTH GATEWAY DRIVE, RIVER HEIGHTS, UT 84321-5571
16973632               + DMCS, DEFAULT RESOLUTION GROUP, PO BOX 5609, GREENVILLE, TX 75403-5609
16973618               + EMPOWER MENTAL HEALTH, 5225 N CENTRAL AVE STE 230, PHOENIX, AZ 85012-1472
16973627               + FINGERHUT FETT1/WEB BANK, PO BOX 70792, PHILADELPHIA, PA 19176-0792
16973617                 HONOR HEALTH, PO BOX 845633, LOS ANGELES, CA 90084-5633
16973621               + LIBERTY MUTUAL, PO BOX 1604, NEW YORK, NY 10116-1604
16973624                 PATHOLOGY SERVICES, INC, 1919 HIGHLAND AVE, STE 210 BLDG A, LOMBARD, IL 60148-6153
16973625               + SAGUARO DERMATOLOGY, 3400 E MCDOWELL RD, PHOENIX, A 85008-3884
16973634               + SRP, 1500 N. MILL AVE, TEMPE, AZ 85288-1252
16973623               + UNIVERSITY AT BUFFALO, SCHOOL OF DENTAL MEDICINE, 140 SQUIRE HALL, BUFFALO, NY 14214-8006

TOTAL: 17

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
tr                        Email/Text: ecfmailclient@ch13bk.com
                                                                                        May 26 2023 23:06:00      RUSSELL BROWN, CHAPTER 13 TRUSTEE,
                                                                                                                  SUITE 800, 3838 NORTH CENTRAL AVENUE,
                                                                                                                  PHOENIX, AZ 85012-1965
smg                       EDI: AZDEPREV.COM
                                                                                        May 27 2023 02:47:00      AZ DEPARTMENT OF REVENUE,
                                                                                                                  BANKRUPTCY & LITIGATION, 1600 W.
                                                                                                                  MONROE, 7TH FL., PHOENIX, AZ 85007-2650
16977242               + EDI: AZDEPREV.COM
                                                                                        May 27 2023 02:47:00      ARIZONA DEPARTMENT OF REVENUE, 2005
                                                                                                                  N CENTRAL AVE, SUITE 100, PHOENIX, AZ
                                                                                                                  85004-1546
16973631                  Email/Text: GUARBKe-courtdocs@ascendiumeducation.org
                                                                                        May 26 2023 23:05:00      ASCENDIUM EDUCATION, SOLUTIONS,
                                                                                                                  INC, 38 BUTTONWOOD COURT, MADISON,
                                                                                                                  WI 53718
16969424                  Email/Text: GUARBKe-courtdocs@ascendiumeducation.org
                                                                                        May 26 2023 23:05:00      Ascendium Education Solutions, Inc, PO Box
                                                                                                                  8961, Madison WI 53708-8961
16970355               + Email/Text: bankruptcy@cavps.com
                                                                                        May 26 2023 23:06:00      Cavalry SPV I, LLC, PO Box 4252, Greenwich,
                                                                                                                  CT 06831-0405
16973619                  EDI: IRS.COM
                                                                                        May 27 2023 02:47:00      INTERNAL REVENUE SERVICE, PO BOX
                                                                                                                  7346, PHILADELPHIA, PA 19101-7346
16973626                  Email/Text: sknaak@klsfs.com
                                                                                        May 26 2023 23:06:00      KLS FINANCIAL SERVICES, PO BOX 565,



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District/off: 0970-2                                               User: admin                                                            Page 2 of 2
Date Rcvd: May 26, 2023                                            Form ID: van122                                                      Total Noticed: 25
                                                                                                            MORRISVILLE, NC 27560

TOTAL: 8


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
cr                            MARK-TAYLOR RESIDENTIAL, INC., an Arizona corporat

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 28, 2023                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 26, 2023 at the address(es) listed below:
Name                             Email Address
DAVID L. KNAPPER
                                 on behalf of Creditor MARK-TAYLOR RESIDENTIAL INC., an Arizona corporation, at times acting through or dba Cambridge
                                 Capital Real Estate Investments, LLC and/or Pierce Peak, LLC, or simply dba ArLo Apartments or by simila
                                 dlk@knapperlaw.com

RUSSELL BROWN
                                 ecfmailclient@ch13bk.com

U.S. TRUSTEE
                                 USTPRegion14.PX.ECF@USDOJ.GOV


TOTAL: 3




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FORM VAN−122
REVISED 08/01/2018



                             UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF ARIZONA

In re:                                                          Case No.: 2:23−bk−03067−SHG

    TREVOR DOUGLAS REID                                         Chapter: 13
    2121 N 44TH ST
    APT 4412
    PHOENIX, AZ 85008
    SSAN: xxx−xx−8564
    EIN:

Debtor(s)

                                               ORDER DISMISSING CASE

         The debtor(s) having failed to file a list of creditors in the proper format as required by Local Bankruptcy Rule
         1007−1.
         The individual debtor(s) having failed to file a Credit Counseling Certificate as required by Fed. R. Bankr. P.
         1007(b)(3).
         The debtor(s) having failed to pay the filing fee as ordered by the court.
         The debtor(s) having failed to timely file the schedules and statements required by Fed. R. Bankr. P. 1007.
         The debtor(s) having failed to timely file a Chapter 13 plan as required by Fed. R. Bankr. P. 3015.
         The debtor(s) having failed to timely submit the Statement of Social Security Number as required by Fed. R.
         Bankr. P. 1007(f).
         The individual debtor(s) having failed to file a Statement of Your Current Monthly Income and any additional
         forms as required by Fed. R. Bankr. P. 1007.
         The debtor(s) having failed to file a Declaration of Evidence of Employer's Payments as required by Local
         Bankruptcy Rule 1007−1.
         The debtor(s) having failed to file a Declaration Under Penalty of Perjury for Debtors Without an Attorney as
         required by Local Bankruptcy Rule 1007−1.
         The debtor(s) having failed to appear and be examined at the meeting of creditors as required by 11 U.S.C. §
         341.
         After an Order to Show Cause why this case should not be dismissed was issued.
         The trustee having moved to dismiss this case.
         The debtor(s) having moved to dismiss this case.
         The debtor(s) having failed to timely file all required Official Forms as indicated by the court.




                                             −− Order continued on 2nd page −−




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   IT IS ORDERED that the above−captioned case be dismissed. Jurisdiction is retained over any matters arising
under 11 U.S.C. § 110.

   IT IS FURTHER ORDERED that any pending hearings, including any final hearing set on a motion for relief from
the automatic stay are vacated.
    IT IS FURTHER ORDERED that if the debtor wishes to reinstate this case, a motion for reinstatement must be
filed setting forth the reasons for the request.

   IT IS FURTHER ORDERED that even though this case has been dismissed, debtor(s) is/are required to pay all
outstanding fees due and owing to the court.

   IT IS FURTHER ORDERED that the Court shall not consider a motion for reinstatement of the case unless all fees
are paid in full or all required documents are filed.

   NOTICE IS ALSO GIVEN that the order was entered on the docket this date.

Date: May 26, 2023                                       BY THE COURT



Address of the Bankruptcy Clerk's Office:                Honorable Scott H. Gan
U.S. Bankruptcy Court, Arizona                           United States Bankruptcy Judge
230 North First Avenue, Suite 101
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov




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